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                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA




  JON LAKATOS,                                Case No. 2:24-cv-03678-SB-MRW
         Plaintiff,

   v.                                         FINAL JUDGMENT

  RLI CORP. et al.,
         Defendants.


       For the reasons stated in the separate order granting Defendant’s motion to
 dismiss entered this date, it is ORDERED AND ADJUDGED that Plaintiff Jon
 Lakatos’s claims against Defendant Mercury Insurance Company are dismissed
 without prejudice based on the Court’s finding that Mercury was fraudulently
 joined, and Plaintiff’s claims against Defendant RLI Insurance Company
 (erroneously sued as RLI Corp.) are dismissed on the merits with prejudice.

        This is a final judgment.




 Date: June 7, 2024                           ___________________________
                                                    Stanley Blumenfeld, Jr.
                                                  United States District Judge




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